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 5
                               UNITED STATES DISTRICT COURT
 6
                              EASTERN DISTRICT OF WASHINGTON
 7
 8    UNITED STATES OF AMERICA,                 )
                                                )    NO. CR-05-2087-LRS-5
 9                      Plaintiff,              )
                                                )    ORDER GRANTING MOTION TO
10          v.                                  )    REOPEN (Ct Rec. 302) AND
                                                )    ORDER GRANTING RELEASE
11                                              )    FOLLOWING BAIL REVIEW
      FRANCISCO PADILLA,                        )    HEARING (Ct Rec. 309)
12                                              )
                        Defendant.              )
13
14         This matter came before the Court for a bail review hearing

15   February 21, 2006. The government was represented by Shawn

16   Anderson, Esq.     Defendant was present with CJA counsel, Aaron

17   Dalan, Esq.

18         Today’s proceeding was held via video conference with the

19   defendant’s permission.

20         The defendant moved to reopen the detention hearing and

21   requested release on conditions stating there are conditions which

22   would reasonably assure defendant’s appearance as required.

23         The Court granted the defendant’s motion to expedite (Ct Rec.

24   305) and the motion to reopen detention. (Ct Rec. 302).

25         The government argued for continued detention stating that

26   there are no conditions which justify reconsidering the issue of

27   bail and there are no conditions which will reasonably assure

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 1   defendant’s appearance as required and safety of the community.
 2         At the Court’s request, U. S. Probation Officer Jim Moon
 3   orally provided his recommendations.
 4         This court has taken into account the recommendations of
 5   counsel and Officer Moon, evidence and information produced at
 6   this hearing and record concerning appearance at court
 7   proceedings, and the nature and seriousness of the danger to any
 8   person or the community that would be posed by the defendant's
 9   release.
10         The Court granted defendant’s oral request for
11   reconsideration of conditions of release (Ct Rec. 309).
12         IT IS ORDERED that the defendant shall be released subject to
13   the following conditions:
14         1.    The defendant shall sign A.O. Form 199C.
15         2.    The $20,000 appearance bond is reinstated.
16         3.    That the defendant shall be released to a U. S.
17   Probation Officer who will check defendant in to the BBL Clean and
18   Sober Housing Facility.
19         4.    That the defendant shall reside at the BBL Clean and
20   Sober Housing Facility and shall comply and abide with their
21   conditions and rules.
22         5.    That if any problems arise with the residency at BBL
23     Clean and Sober, owner/operator Robert Bonser, will immediately
24   advise U.S. Probation.
25         6.    The defendant shall remain in the Eastern District of
26   Washington while the case is pending.
27         7.    The defendant shall maintain or actively seek
28
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 1   employment.
 2         8.    The defendant shall report to the U.S. Probation Office
 3   as directed.
 4         DATED this 21st day of February, 2006.
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 6                                                 S/MICHAEL W. LEAVITT
                                               United States Magistrate Judge
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     ORDER GRANTING MOTION TO REOPEN
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